    Case 23-40709               Doc 323-2 Filed 09/11/24 Entered 09/11/24 07:59:35                     Desc
                                Declaration of Electronic Filing Page 1 of 1


OLF 7 (Official Local Form 7)

                                     UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF MASSACHUSETTS
In re WESTBOROUGH SPE LLC                                            Case No. 23-40709-CJP

                                                                     Chapter 7

                                   Debtor

                                     DECLARATION RE: ELECTRONIC FILING

PART I - DECLARATION
         I(We)Jonathan Steinberg                                          and N/A

                                        hereby declare(s) under penalty of perjury that all of the information
contained in my Declaration of Jonathan Steinberg (singly or jointly the "Document"), filed electronically, is true
and correct. I understand that this DECLARATION is to be filed with the Clerk of Court electronically
concurrently with the electronic filing of the Document. I understand that failure to file this DECLARATION
may cause the Document to be struck and any request contained or relying thereon to be denied, without
further notice.

        I further understand that, pursuant to the Massachusetts Electronic Filing Local Rule (MEFR) 7(b), all
paper documents containing original signatures executed under the penalties of perjury and filed electronically
with the Court are the property of the bankruptcy estate and shall be maintained by the authorized CM/ECF
Registered User for a period of five (5) years after the closing of this case.


Dated: September 11, 2024
                                                      fiant)

                                                    N/A
                                                   (Joint Affiant)


PART II - DECLARATION OF ATTORNEY (IF AFFIANT IS REPRESENTED BY COUNSEL)

        I certify that the affiant(s) signed this form before I submitted the Document, I gave the affiant(s) a
copy of the Document and this DECLARATION, and I have followed all other electronic filing requirements
currently established by local rule and standing order. This DECLARATION is based on all information of which I
have knowledge and my signature below constitutes my certification of the foregoing under Fed. R. Bankr. P.
9011. I have reviewed and will comply with the provisions of MEFR 7.



Dated: September 11, 2024
                                                   Signed: /S/ Roger L. Smerage
                                                   (Attorney for Affiant - /s/used by Registered ECF Users Only)
